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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 DAVID CLARKE,

 Defendant.                                                  No. 11-30152-DRH

                                        ORDER

 HERNDON, Chief Judge:

       On April 12, 2012, the Court received a pleading from David Clarke wherein

 Clarke asked that the Clerk of the Court file a notice of appeal for him and asked that

 the Court appoint counsel to represent him on appeal (Doc. 52). The pleading was

 construed and filed as a Notice of Appeal and as a request for counsel on appeal. As

 to Clarke’s request for counsel, the Court does not have the authority to make such

 decisions once final judgment has been entered. Only the Seventh Circuit Court of

 Appeals may allow defense counsel to withdraw after judgment is entered or appoint

 new counsel for purposes of an appeal. United States v. Flowers, 789 F.2d 569, 570

 )(7th Cir. 1986)(per curiam); accord Corral v. United States, 498 F.3d 470, 474 (7th

 Cir. 2007); see Circuit Rule 51 (“Trial counsel in a criminal case, whether retained

 or appointed by the district court, is responsible for the continued representation of

 the client desiring to appeal unless specifically relieved by the court of appeals upon

 a motion to withdraw.”). Thus, the Court denies the motion for appointment of


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 counsel. Clarke may re-file the motion with the Seventh Circuit Court of Appeals.

       IT IS SO ORDERED.                                           David R.
       Signed this 16th day of April, 2012.
                                                                   Herndon
                                                                   2012.04.16
                                                                   14:25:03 -05'00'
                                              Chief Judge
                                              United States District Court




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